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WESTERN DISTRICT oF TENNESSEE ,= _ _
Western Division 05 ~]l‘ii 29 till ll' l 7

 

UNITED STATES OF AMERICA

-vs- Case No. 2:05cr20238-Ml

BENJAMIN MURRELL

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING1 PURSUANT TO
BAIL REFORM AC'I`

Upon motion of the Govemment, it is ORDERED that a detention healing is set for
FRIDAY, JULY 1, 2005 at 2:30 P.M. before United States Magistrate .Iudge Diane K. Vescovo
in Courtroom No. 5, Third Floor, United States Courthouse and Federal Building, 167 North Main,
Memphis, TN. Pending this hearing, the defendant shall be held in custody by the United States

Marshal and produced for the hearing.

Date: ]une 28, 2005 /s/ S. Allan Alexancfer

 

S. ALLAN ALEXANDER
UNITED STATES MAGISTRATE JUDGE
NORTHERN DISTRICT OF M]SSISSIPPI

 

]If not held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the govemment, or up to five days upon motion of the defendant 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f) are present Subsection (1) sets forth
the grounds that may be asserted only by the attorney for the govemment; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, inj ure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

  

AO 470 (BIBS) Order ot Temporary Detantion

Thls document entered on the dockets s l
with Fiu|e 55 and/or 32{b) FRCrP on

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Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
ease 2:05-CR-20238 Was distributed by faX, mail, or direct printing on
June 30, 2005 to the parties listed.

 

 

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

